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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

      v.                                              Criminal Action No. 1:22-cr-00176 (CJN)

STEPHEN JOHNSON,

               Defendant.


                             PRETRIAL SCHEDULING ORDER

       Trial is set to commence in this matter on April 8, 2024, at 9:00 a.m. Jury selection will

take place on April 8, 2024, at 9:00 a.m.         The following deadlines shall govern pretrial

proceedings:

       1.      The Defendant shall file any motions to dismiss the indictment or other motions to

               exclude evidence by December 1, 2023; oppositions shall be filed on or before

               December 15, 2023; and replies shall be filed on or before December 22, 2023.

       2.      Parties shall file their pretrial motions (including motions in limine), if any, on or

               before February 16, 2024; oppositions shall be filed on or before March 1, 2024;

               and replies shall be filed on or before March 8, 2024.

       3.      Before filing a pretrial motion, the Parties shall meet and confer to discuss whether

               any issues presented by the motion can be resolved by agreement of the Parties.

       4.      The United States shall notify Defendant of its intention to introduce any Rule

               404(b) evidence not already disclosed on or before February 16, 2024.

       5.      The United States should endeavor to make grand jury and Jencks Act disclosures

               as to each witness it expects to call in its case-in-chief on or before March 8, 2023.

               Any Brady material not already disclosed also must be disclosed by this date.
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6.      On or before March 15, 2024, counsel shall file a Joint Pretrial Statement that

        contains the following:

               a. A neutral statement of the case. The Parties shall include a neutral

                   statement of the case for the Court to read to prospective jurors.

               b. Proposed voir dire questions. The Parties shall indicate:

                     i. the voir dire questions on which they agree; and

                    ii. the voir dire questions on which they disagree with specific objections

                         and relevant legal authority noted below each disputed question

               c. Proposed jury instructions. The Parties shall submit a single list of

                   proposed jury instructions, followed by the text of each proposed

                   instruction, that indicates:

                     i. the instructions on which the parties agree; and

                    ii. the instructions on which the parties disagree, with specific

                         objections noted below each disputed instruction; and the

                         proposed instruction’s source (e.g., the Red Book, Mathew

                         Bender’s Federal Jury Instructions) or, for modified or new

                         instructions, supporting legal authority.

                                 Proposed instructions may be updated as needed to reflect

                                 the evidence presented at trial. Absent a showing of good

                                 cause, no other modifications will be permitted.

               d. List of witnesses. The Parties shall identify the witnesses that each side

                   anticipates it may call in its case-in-chief, divided into the following

                   categories:


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               i. witnesses who will be called to testify at trial;

              ii. witnesses who may be called to testify at trial; and

             iii. witnesses whose testimony a party will present by deposition or

                  other prior testimony, indicating whether the presentation will be

                  by transcript or video.

                        The Court will read the list of witnesses to the jury during

                        voir dire.       In the list, each witness name should be

                        accompanied by a brief description of each witness’s

                        expected testimony and area of expertise, if applicable,

                        followed by specific objections, if any, to each witness.

         e. Exhibit lists.   The Parties shall include an exhibit list (including

            demonstratives, summaries, or other specially prepared exhibits), which

            includes:

               i. the exhibit number for each document;

              ii. the date of the document;

             iii. a brief description of the document;

              iv. a concise statement of the asserted basis for admissibility; and

              v. whether there is an objection to admission of the document and, if

                  so, a concise statement of the basis for the objections.

         f. Stipulations. The Parties shall submit a draft of all stipulations.

         g. Proposed verdict form. The Parties shall include a draft verdict form,

            including any special interrogatories. The draft verdict form should

            include a date and signature line for the jury foreperson.

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                     h. The Parties must submit to chambers a printed copy of the Joint Pretrial

                         Statement tabbed and in a three-ring binder. The Parties must submit

                         an electronic version of all proposed voir dire questions, jury

                         instructions, and verdict forms in Word format by emailing them to

                         Chambers at Nichols_Chambers@dcd.uscourts.gov.                  The jury

                         instructions section must be formatted so that each individual jury

                         instruction begins on a new page.

      7.      The Parties shall deliver to the Court and opposing counsel, in electronic format

              (either by disc or thumb drive), a copy of all its exhibits, marked by exhibit number,

              by March 18, 2024, except that any exhibits not readily available in electronic

              format (e.g., the exhibit is a physical object) need not be submitted.

      8.      The Parties shall meet and confer about exhibits and witnesses by March 18, 2024,

              to discuss anticipated objections and stipulations for admission.

      9.      The Court will schedule hearings on any motions filed by the Parties as necessary.

      10.     In addition, counsel shall appear on March 29, 2024, at 10:00 a.m., by telephone

              for a status conference.



DATE: September 28, 2023
                                                             CARL J. NICHOLS
                                                             United States District Judge




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